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                 UNITED STATES DISTRICT COURT

                SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISION



ANTONIO D. WOODLEY,

     Movant,
                                             Case No. CV413-167
v.                                                    CR408-315

UNITED STATES OF AMERICA,

      Respondent.

                  REPORT AND RECOMMENDATION

      In response to this Court’s Report and Recommendation (R&R),

doc. 1457, 1 Antonio D. Woodley moves for leave to amend his § 2255

motion, doc. 1460, as well as to extend the time within which to object to

the R&R. Doc. 1461. The Court GRANTS both motions and concludes

that the amended filings simply rehash movant’s pre-R&R filings and

thus warrant no alteration of the R&R. Woodley shall have 15 additional




1
 The Court is citing only to the criminal docket and using its docketing software's
pagination; it may not always line up with each paper document's printed pagination.
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days from the date this Order is served to object to that R&R as well as

this one.

       SO REPORTED AND RECOMMENDED this 28th day of

October, 2013.

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                                    UMTED STATES MAGISTRATE JIJDGE
                                    SOTJTHERN DISTRICT OF GEORGIA




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